Approved:
               KEVIN MEAD / MICAH FERGENSON
               Assistant United States Attorneys

Before:        THE HONORABLE JAMES L. COTT
               United States Magistrate Judge
               Southern District of New York                  23 MAG 3947
 -------------------------------------- X
 UNITED STATES OF AMERICA                                 : COMPLAINT

            - v. -                                        : Violations of
                                                            18 U.S.C. §§ 371, 1030, 1349, 1343,
 JOSEPH GARRISON,                                         : 1028A, and 2

             Defendant.                                   : COUNTY OF OFFENSE:
                                                            NEW YORK
 -------------------------------------- X

SOUTHERN DISTRICT OF NEW YORK, ss.:

              MICHAEL GASSERT, being duly sworn, deposes and says that he is a Special
Agent with the Federal Bureau of Investigation (“FBI”), and charges as follows:

                                         COUNT ONE
                          (Conspiracy to Commit Computer Intrusions)

               1.      In or about November 2022, in the Southern District of New York and
elsewhere, JOSEPH GARRISON, the defendant, and others known and unknown, willfully and
knowingly combined, conspired, confederated, and agreed together and with each other to commit
an offense against the United States, to wit, a violation of Title 18, United States Code, Sections
1030(a)(2)(C) and 1030(a)(4).

                2.      It was a part and an object of the conspiracy that JOSEPH GARRISON, the
defendant, and others known and unknown, would and did intentionally access a computer without
authorization, and exceed authorized access, and thereby would and did obtain information from
a protected computer, which was committed for purposes of commercial advantage and private
financial gain, and the value of the information obtained would and did exceed $5,000, in violation
of Title 18, United States Code, Sections 1030(a)(2)(C), 1030(c)(2)(B)(i) & (iii).

              3.     It was further a part and an object of the conspiracy that JOSEPH
GARRISON, the defendant, and others known and unknown, knowingly and with the intent to
defraud, would and did access a protected computer without authorization, and exceed authorized
access, and by means of such conduct further the intended fraud and obtain anything of value
totaling more than $5,000 during a one-year period, in violation of Title 18, United States Code,
Sections 1030(a)(4) and 1030(c)(3)(A).

                                             Overt Act

              4.      In furtherance of the conspiracy and to effect the illegal objects thereof, the
following overt act, among others, was committed in the Southern District of New York and
elsewhere:

                      a.      On or about November 18, 2022, JOSEPH GARRISON, the
defendant, used leaked credentials to access victims’ electronic betting accounts on a fantasy sports
and sports betting website (the “Betting Website”).

                           (Title 18, United States Code, Section 371.)

                                  COUNT TWO
  (Computer Fraud - Unauthorized Access to a Protected Computer to Further Intended
                                      Fraud)

                5.     In or about November 2022, in the Southern District of New York and
elsewhere, JOSEPH GARRISON, the defendant, knowingly and with the intent to defraud,
accessed a protected computer without authorization, and exceeded authorized access, and by
means of such conduct furthered the intended fraud and obtained anything of value totaling more
than $5,000 during a one-year period, to wit, GARRISON obtained unauthorized access to victims’
electronic betting accounts on the Betting Website and sold the means of unauthorized access to
those accounts—namely, account login information along with instructions for how to drain funds
from the compromised accounts—to others who used that information to steal hundreds of
thousands of dollars from the victim accounts.

            (Title 18, United States Code, Sections 1030(a)(4), 1030(c)(3)(A), and 2.)

                                   COUNT THREE
             (Computer Fraud - Unauthorized Access to a Protected Computer)

                6.     In or about November 2022, in the Southern District of New York and
elsewhere, JOSEPH GARRISON, the defendant, intentionally accessed a computer without
authorization, and exceeded authorized access, and thereby obtained information from a protected
computer, which was committed for purposes of commercial advantage and private financial gain,
and the value of the information obtained exceeded $5,000, to wit, GARRISON obtained
unauthorized access to victims’ electronic betting accounts on the Betting Website and obtained
information from those accounts, namely account login information, which he sold to others who
used that information to steal hundreds of thousands of dollars from the victim accounts.

         (Title 18, United States Code, Sections 1030(a)(2)(c), 1030(c)(2)(B)(i), and 2.)




                                                 2
                                        COUNT FOUR
                                    (Wire Fraud Conspiracy)

                7.      In or about November 2022, in the Southern District of New York and
elsewhere, JOSEPH GARRISON, the defendant, and others known and unknown, willfully and
knowingly combined, conspired, confederated, and agreed together and with each other to commit
wire fraud, in violation of Title 18, United States Code, Section 1343.

                 8.     It was a part and an object of the conspiracy that JOSEPH GARRISON, the
defendant, and others known and unknown, knowingly having devised and intending to devise a
scheme and artifice to defraud and for obtaining money and property by means of false and
fraudulent pretenses, representations, and promises, would and did transmit and cause to be
transmitted by means of wire, radio, and television communication in interstate and foreign
commerce, writings, signs, signals, pictures, and sounds for the purpose of executing such scheme
and artifice, to wit, GARRISON agreed with others to engage in a scheme to obtain unauthorized
access to victims’ electronic betting accounts on the Betting Website under false pretenses in order
to steal hundreds of thousands of dollars from the victim accounts.

                          (Title 18, United States Code, Section 1349.)

                                         COUNT FIVE
                                         (Wire Fraud)

               9.      In or about November 2022, in the Southern District of New York and
elsewhere, JOSEPH GARRISON, the defendant, knowingly having devised and intending to
devise a scheme and artifice to defraud, and for obtaining money and property by means of false
and fraudulent pretenses, representations and promises, transmitted and caused to be transmitted
by means of wire communication in interstate and foreign commerce writings, signs, signals,
pictures, and sounds, for the purpose of executing such scheme and artifice, to wit, GARRISON
engaged in a scheme to obtain unauthorized access to victims’ electronic betting accounts on the
Betting Website under false pretenses in order to steal hundreds of thousands of dollars from the
victim accounts.
                       (Title 18, United States Code, Sections 1343 and 2.)

                                        COUNT SIX
                                  (Aggravated Identity Theft)

               10.    In or about November 2022, in the Southern District of New York and
elsewhere, JOSEPH GARRISON, the defendant, knowingly transferred, possessed, and used,
without lawful authority, means of identification of another person, during and in relation to a
felony violation enumerated in 18 U.S.C. § 1028A(c), to wit, GARRISON transferred and used,
and aided and abetted the use of, the identifying information of other people during and in




                                                 3
relation to the computer intrusion and wire fraud offenses charged in Counts One through Five
of this Complaint.

              (Title 18, United States Code, Sections 1028A(a)(1) and (b), and 2.)

       The bases for my knowledge and the foregoing charges are, in part, as follows:

                11.     I am a Special Agent with the FBI. This affidavit is based on my personal
participation in the investigation of this matter, my conversations with other law enforcement
agents, witnesses and others, as well as my examination of reports and records. Because this
affidavit is being submitted for the limited purpose of demonstrating probable cause, it does not
include all the facts that I have learned during the course of my investigation. Where the contents
of documents and the actions, statements, and conversations of others are reported herein, they are
reported in substance and in part, except where otherwise indicated.

                                            Overview

                12.    JOSEPH GARRISON, the defendant, launched a credential stuffing attack
on the Betting Website in November 2022 (the “Betting Website Attack”) and thereby obtained
access to tens of thousands of the Betting Website user accounts (the “Victim Accounts”).

                13.    During a credential stuffing attack, a cyber threat actor collects stolen
credentials, or username and password pairs, obtained from other large-scale data breaches of other
companies, which can be purchased on the darkweb.1 The threat actor then systematically attempts
to use those stolen credentials to obtain unauthorized access to accounts held by the same user
with other companies and providers, in order to compromise accounts where the user has
maintained the same password.2

              14.    GARRISON then sold access to those Victim Accounts through various
websites that marketed and sold illegal account credentials. The buyers of those credentials
accessed the Victim Accounts and withdrew approximately $600,000 in total from the Victim
Accounts.

              15.    Law enforcement identified JOSEPH GARRISON, the defendant, as the
individual who conducted the Betting Website Attack based on the following, in substance and in
part:


1
 Darkweb marketplaces are underground e-commerce websites that offer contraband over the
Internet. These marketplaces use technology, including The Onion Router or “Tor” network, and
cryptocurrency, to protect the anonymity of the individuals that operate the marketplace, as well
as the vendors and customers who use the marketplace.
2
 To give an example of how a credential stuffing attack might work, an individual might
purchase a list of 100,000 usernames and passwords obtained from a hack or data breach of an
email service provider, and then use a computer program to rapidly attempt to log into financial
accounts using each of those 100,000 linked usernames and passwords.

                                                4
                     a.      When law enforcement began its investigation, credentials stolen in
the Betting Website Attack were being offered for sale on the internet. Undercover law
enforcement purchased certain credentials stolen in the Betting Website Attack, and the Internet
protocol (“IP”) address3 that uploaded the instructions to use those stolen credentials to steal
money from the Victim Accounts was linked to GARRISON.

                       b.      Law enforcement executed a search on GARRISON’s home, where
they recovered, among other things: (i) credential stuffing programs and files establishing that
GARRISON used those programs to access the Betting Website; (ii) instructional photographs
about how to use the stolen credentials to steal money from the Victim Accounts; (iii) messages
between GARRISON and co-conspirators about the Betting Website Attack; and (iv) messages
from GARRISON to co-conspirators about other similar credential stuffing attacks, including but
not limited to the message, “fraud is fun,” which referred to credential stuffing attacks generally.

                        c.   Prior to the Betting Website Attack, in an interview conducted by
the Madison, Wisconsin Police Department, GARRISON admitted to participating in similar
credential stuffing attacks.

                    The Credential Stuffing Attack on the Betting Website

               16.     Based on law enforcement communications with employees of the Betting
Website and my review of records provided by the Betting Website, I have learned the following,
in substance and in part:

                       a.     The Betting Website is a fantasy sports and sports betting company.

                         b.    On or about November 18, 2022, the Betting Website was subjected
to a credential stuffing attack (i.e., the Betting Website Attack). In connection with the Betting
Website Attack, there was a series of attempts to log into the Betting Website accounts using a
large list of credentials.

                      c.     I further know from my training and experience that when
individuals successfully execute a credential stuffing attack, they will frequently sell access to
many of the accounts they have illegally accessed on various websites that deal in hacked accounts.

                    d.    In connection with the Betting Website Attack on or about
November 18, 2022, approximately 60,000 Victim Accounts at the Betting Website were
successfully compromised.

                    e.      In some instances, the individuals who unlawfully accessed the
Victim Accounts were able to add a new payment method on the account, deposit $5 into that

3
  An IP address is a unique numeric address used by internet-enabled electronic storage devices.
Every electronic storage device attached to the Internet must be assigned an IP address so that
Internet traffic sent from and directed to that electronic storage device may be directed properly
from its source to its destination.

                                                 5
account through the new payment method to verify that method, and then withdraw all the existing
funds in the Victim Account through the new payment method (i.e., to a newly added financial
account belonging to the hacker), thus stealing the funds in the Victim Account. Using this method,
the hackers stole approximately $600,000 from approximately 1,600 Victim Accounts.

                17.    Based on my review of records provided by the Betting Website, I have
learned, in substance and in part, that at least 30 of the 60,000 Victim Accounts accessed via the
Betting Website Attack have listed addresses in the Southern District of New York. I have
additionally interviewed approximately four individuals who confirmed that they were victims of
the Betting Website Attack and that they reside in the Southern District of New York.

       Undercover Purchases of the Betting Website Credentials and IP Address Analysis

              18.     Based on discussions with employees of the Betting Website and an
undercover law enforcement officer (the “UC”), as well as my review of records relating to an
undercover operation, I have learned the following, in substance and in part:

                      a.     In approximately November 2022, the Betting Website informed
law enforcement that working Betting Website credentials, verified through the Betting Website,
were available for purchase on several illicit websites.

                       b.     The Betting Website further informed law enforcement that Betting
Website representatives purchased stolen credentials after the Betting Website Attack in an attempt
to investigate the hack. When the Betting Website made that purchase, it received instructions as
to how to steal money from the purchased Victim Accounts. Those instructions contained several
photos of a particular Victim Account as an illustration (the “Illustration Account”). The Betting
Website checked the status of the Illustration Account on its own systems and saw that money had
been withdrawn from the account on or about November 18, 2022, in a manner consistent with the
hacking instructions. The Betting Website observed that a particular IP address was used to access
the Illustration Account and withdraw the money on or about November 18, 2022 (the “Target IP
Address”).

                       c.     On or about January 9, 2023, the UC observed stolen Betting
Website credentials for sale on a website (“Website-1”). The UC purchased two sets of those
credentials—meaning usernames and passwords for two Victim Accounts—for approximately $11
(the “Website-1 Credentials”). The UC made the purchase of credentials from an office located in
the Southern District of New York and the credentials were transmitted to the UC and downloaded
by the UC from the office located in the Southern District of New York. Law enforcement
confirmed with the Betting Website that the email addresses in the Website-1 Credentials belonged
to active Betting Website accounts.

                       d.     When the UC purchased the Website-1 Credentials, the seller who
had sold those credentials on Website-1 provided instructions as to how the Website-1 Credentials
could be used to steal money from the Victim Accounts. Those instructions are below:4


4
    Certain of the pictures in this Complaint have been redacted to protect identities.
                                                    6
                     e.       The instructions provided through Website-1 included links (the
hyperlinks in the photo above) to two photos of money being extracted from the Illustration
Account with additional instructions, and those photos with additional instructions were hosted on
an image hosting website (the “Hosting Website”). The two photos hosted at the Hosting Website
links are below:5




[Hosting Website domain omitted]/K9ehpjV.png        [Hosting Website domain omitted]/rsR8ZM5.png
(“Photo-1”)                                         (“Photo-2”)

               19.     I have reviewed information provided by the Hosting Website identifying
the IP addresses that uploaded Photo-1 and Photo-2 to the Hosting Website. Different IP addresses
uploaded Photo-1 and Photo-2. The IP address that uploaded Photo-2 was the Target IP Address,
and Photo-2 was uploaded on or about November 18, 2022.

               20.     Law enforcement observed that stolen Betting Website credentials were also
available for purchase on another website (“Website-2”).

              21.     While law enforcement did not purchase Betting Website credentials from
Website-2, they observed the following instructions on Website-2 as to how to use any purchased
Betting Website credentials to steal money:

5
 The Hosting Website links described in this warrant are no longer working, and law
enforcement used the database service the Internet Archive to view the photos at the Hosting
Website links.

                                                7
                22.     Similar to the instructions from Website-1 shown above in paragraph 18,
the instructions from Website-2 contain several Hosting Website links showing exactly how to take
various steps to steal money from the Victim Accounts. The first Hosting Website link in the
Website-2 instructions is a link to Photo-1. The second Hosting Website link in the Website-2
instructions is a link to Photo-2, which, as described above, was uploaded using the Target IP
Address. The pictures from the third and fourth Hosting Website links in the Website-2 instructions
are below:




[Hosting Website domain omitted]/Pq8IEeN.png           [Hosting Website domain omitted]/CzUcDqS.png
(“Photo-3”)                                            (“Photo-4”)

               23.     I have reviewed information provided by the Hosting Website identifying
the IP addresses that uploaded Photo-3 and Photo-4 to the Hosting Website. The Target IP Address
                                                8
uploaded both Photo-3 and Photo-4 on or about November 18, 2022—which is the same date that
Photo-2 was uploaded using the Target IP Address, and the same date that funds were withdrawn
from the Illustration Account using the Target IP Address.

              24.    I have reviewed a subpoena return from the provider of the Target IP
Address. The subscribers of the Target IP Address are the parents of JOSEPH GARRISON, the
defendant, and the physical address is a location in Wisconsin (the “Wisconsin Address”). The
subpoena return further established that the Wisconsin Address had used the Target IP Address
from approximately September 29, 2022 until at least approximately January 30, 2023, during
which time Photo-2, Photo-3, and Photo-4 were uploaded to the Hosting Website.

                              The Search of GARRISON’s Home

              25.    I know from my involvement in the investigation that on or about February
23, 2023, law enforcement executed a search at the Wisconsin Address pursuant to a judicially
authorized search warrant. JOSEPH GARRISON, the defendant, and his family reside at the
Wisconsin Address. In that search, law enforcement recovered and searched several devices
belonging to GARRISON, including his computer (the “Garrison Computer”) and cellphone (the
“Garrison Phone”).

                       Credential Stuffing Tools on the Garrison Computer

              26.    I know from my involvement in the investigation that law enforcement
located the programs OpenBullet and SilverBullet on the Garrison Computer. Based on my
involvement in the investigation and my training and experience, I know the following about
OpenBullet, SilverBullet, and the files found the Garrison Computer, in substance and in part:

                       a.      OpenBullet and SilverBullet are programs frequently used to
execute credential stuffing attacks.

                       b.     To launch a credential stuffing attack using OpenBullet or
SilverBullet, an individual needs both a “wordlist” and a “config.” A “wordlist” contains a series
of username and password combinations, while a “config” is a script that will run the wordlist
through the log-in page of a particular website.

                     c.     On the Garrison Computer, law enforcement located 11 separate
Betting Website configs. Metadata shows that the earliest creation date for one of those configs
was November 17, 2022, approximately one day before the Betting Website Attack.

                     d.      On the Garrison Computer, law enforcement also located
approximately 700 separate configs designed for credential stuffing attacks against dozens of other
company websites.




                                                9
                      e.      On the Garrison Computer, law enforcement located at least 69
wordlists which contained at least 38,484,088 individual username and password combinations.6

                        Additional Files Related to the Betting Website Attack

               27.     On the Garrison Computer, law enforcement also located Photo-1, Photo-2,
Photo-3, and Photo-4, which, as described above, contained the instructions for individuals who
purchased Betting Website credentials to use those credentials to steal money. Those photos were
created using a particular program that: (a) indicated that JOSEPH GARRISON, the defendant,
had created the photos; and (b) indicated that the photos had been created on or about November
18, 2022, the date of the Betting Website Attack.

                      GARRISON’s Messages About the Betting Website Attack

               28.      On the Garrison Phone, law enforcement located the following chats with a
co-conspirator about the Betting Website Attack (“CC-1”). Based on my training and experience
and involvement in the investigation, I believe that JOSEPH GARRISON, the defendant, and CC-
1 were discussing, among other things, how to execute the Betting Website Attack and how to
profit from the Betting Website Attack by extracting funds from the Victim Accounts directly or
by selling access to the Victim Accounts:

        Date          From                                    Message
    11/17/2022     GARRISON         do u have captcha7
    11/17/2022     CC-1             uh
    11/17/2022     CC-1             not rly
    11/17/2022     CC-1             for what site u need
    11/17/2022     GARRISON         [the Betting Website]
    11/17/2022     CC-1             eh
    11/17/2022     CC-1             its shit
    11/17/2022     CC-1             don’t bother
    11/17/2022     GARRISON         i have bypass8
    11/17/2022     CC-1             2fa?9

6
    Some of these combinations are likely duplicates.
7
  Based on my training and experience and involvement in the investigation, I understand
“captcha” to be an acronym for “Completely Automated Public Turing test to tell Computers and
Humans Apart,” a verification tool at the log-in stage in which a human must correctly identify,
for example, altered text in a picture, to ensure that a bot is not attempting to log in. Successful
credential stuffing attacks frequently rely on overcoming CAPTCHA protections.
8
 Based on my training and experience and involvement in the investigation, I understand
“bypass” to refer to a method to avoid anti-hacking protocols by websites, such as two-factor
authentication and CAPTCHAs.
9
  Based on my training and experience and involvement in the investigation, I understand “2fa”
to refer to “two-factor authentication,” a protocol to make hacking accounts more difficult.

                                                 10
 11/17/2022     CC-1             [name of coconspirator omitted]
 11/17/2022     CC-1             bypass
 11/17/2022     CC-1             jeez
 11/17/2022     CC-1             u rich
                                                []
 11/18/2022     GARRISON         if u get captcha
 11/18/2022     GARRISON         we can do
 11/18/2022     GARRISON         [the Betting Website]
 11/18/2022     GARRISON         too
 11/18/2022     CC-1             i have solver
 11/18/2022     CC-1             it’s just
 11/18/2022     CC-1             [the Betting Website]
 11/18/2022     CC-1             doesn’t hit
 11/18/2022     CC-1             for me
 11/18/2022     GARRISON         u need bypass
 11/18/2022     GARRISON         i have it
                                                []
 11/18/2022     GARRISON         [Messaged lines of code that I understand, from my training
                                 and experience and involvement in the investigation, are
                                 designed to be used against the Betting Website]
                                                []
 11/18/2022     GARRISON         [name of coconspirator omitted] got like
 11/18/2022     GARRISON         20k worth of accs10
 11/18/2022     GARRISON         In like 3hrs checking
 11/18/2022     CC-1             Imma get more
 11/18/2022     GARRISON         Give me bulk ill sell on other shops11
 11/18/2022     GARRISON         I have a bunch lined up
 11/18/2022     GARRISON         Ill give u profit
                                                []
 11/18/2022     CC-1             [Messages a photo of SilverBullet running against the Betting
                                 Website]
                                                []
 11/18/2022     GARRISON         wanna toss me a hit so i can write up method
 11/18/2022     GARRISON         make it all pretty for ur customers
 11/18/2022     GARRISON         and easy to understand
 11/18/2022     CC-1             [username omitted] [password omitted] | Balance = $150.00
                                 [username omitted] [password omitted] | Balance = $100.00

10
   Based on my training and experience and involvement in the investigation, I understand “accs”
to be short for “accounts,” and to refer to individual user accounts that have been successfully
illegally accessed.
11
   Based on my training and experience and involvement in the investigation, I understand terms
like “shop” and “acc shop” to refer in this context to websites such as Website-1 and Website-2,
that sell stolen log-in credentials.

                                               11
                                 [username omitted] [password omitted] | Balance = $250.00
 11/18/2022     CC-1             here u go my brotha
 11/18/2022     CC-1             u will give me method?
 11/18/2022     CC-1             lol
 11/18/2022     GARRISON         ye
 11/18/2022     CC-1             i will give u 30% of all
                                                 []
 11/18/2022     GARRISON         [the Betting Website] Method
                                 Step 1; Go to account settings and enable 2fa through the
                                 phone number
                                 Put your own phone number, this is how you bypass 2fa to
                                 cashout the account.
                                 [Hosting Website domain omitted]/K9ehpjV.png
                                 Step 2; Add your own payment method and add $5 to account
                                 balance (similar to [name of other fantasy sports and sports
                                 betting website omitted])
                                 Step 3;Withdraw the balance of the account to any payment
                                 method
                                 [Hosting Website domain omitted]/rsR8ZM5.png
                                 Step 4; Send code to SMS instead of email
                                 [Hosting Website domain omitted]/Pq8IEeN.png
                                 Step 5; Enjoy your money!
                                 [Hosting Website domain omitted]/CzUcDqS.png
                                                 []
 11/18/2022     CC-1             1k accs
 11/18/2022     CC-1             with $100+
 11/18/2022     GARRISON         [Messaged file that I understand, from my training and
                                 experience and involvement in the investigation, to be a
                                 config file to run against the Betting Website]
 11/18/2022     GARRISON         all the shop owners will buy an acc from u too to get method
                                                 []
 11/18/2022     CC-1             gogo
 11/18/2022     CC-1             [username omitted] [password omitted] | Balance =
                                 $12,636.14
 11/18/2022     GARRISON         i needa find a drop12
                                                 []
 11/19/2022     GARRISON         [Messages a photo of a search on Twitter for “[the Betting
                                 Website] hacked”

              29.    On the Garrison Phone, law enforcement also located the following chats
with a second co-conspirator about the Betting Website Attack (“CC-2”). Based on my training
and experience and involvement in the investigation, I believe that JOSEPH GARRISON, the

12
  Based on my training and experience and involvement in the investigation, I understand a
“drop” to refer to a bank account that can be used to deposit hacked funds.

                                              12
defendant, and CC-2 were discussing, among other things, how GARRISON would provide access
to stolen credentials that CC-2 would then arrange to resell:

     Date         From                                    Message
 11/18/2022    GARRISON        hi
 11/18/2022    GARRISON        i got
 11/18/2022    GARRISON        [the Betting Website]
 11/18/2022    CC-2            No captcha ?
 11/18/2022    GARRISON        i have captchaless vm
 11/18/2022    GARRISON        i can stock u if u want
 11/18/2022    CC-2            Yesss pls
 11/18/2022    CC-2            I have method
 11/18/2022    CC-2            And all
 11/18/2022    GARRISON        i made the method
 11/18/2022    GARRISON        [The Betting Website] Method
                               Step 1; Go to account settings and enable 2fa through the
                               phone number
                               Put your own phone number, this is how you bypass 2fa to
                               cashout the account.
                               [Hosting Website domain omitted]/K9ehpjV.png
                               Step 2; Add your own payment method and add $5 to account
                               balance (similar to [name of other fantasy sports and sports
                               betting website omitted])
                               Step 3;Withdraw the balance of the account to any payment
                               method
                               [Hosting Website domain omitted]/rsR8ZM5.png
                               Step 4; Send code to SMS instead of email
                               [Hosting Website domain omitted]/Pq8IEeN.png
                               Step 5; Enjoy your money!
                               [Hosting Website domain omitted]/CzUcDqS.png
 11/18/2022    GARRISON        ima take my dog out then ill stock u
 11/18/2022    GARRISON        i got a fuck ton of stock
 11/18/2022    CC-2            Okay bet
 11/18/2022    CC-2            And I can show full stats of what’s sold cuz of my custom site
 11/18/2022    CC-2            #stats op
 11/18/2022    GARRISON        lmao
 11/18/2022    GARRISON        lemme sort this shit
 11/18/2022    CC-2            Damn I jus realized this the same method I did wit [name of
                               other fantasy sports and sports betting website omitted]
                                              []
 11/18/2022    GARRISON        [Messages picture showing that he has 175 Victim Accounts
                               with between $25-$50, 67 Victim Accounts with between
                               $50-$99, 45 Victim Accounts with between $100-$150, 15
                               accounts with between $150-$200, 18 Victim Accounts with
                               between $200-$400, 10 Victim Accounts with between $500-
                               $999, and 8 Victim Accounts with more than $1,000]

                                            13
 11/18/2022     GARRISON         ill add up total value
                                                []
 11/18/2022     GARRISON         $31k
 11/18/2022     GARRISON         of accs

                     GARRISON’s Messages About Other Computer Frauds

                30.      On the Garrison Phone, law enforcement also located the following chats
with a third co-conspirator (“CC-3”) about additional hacking by JOSEPH GARRISON, the
defendant, which were exchanged approximately two months before the Betting Website Attack.
Based on my training and experience and involvement in the investigation, I understand that
JOSEPH GARRISON, the defendant, and CC-3 were discussing, among other things, that
GARRISON was successful at credential stuffing attacks, that GARRISON enjoyed credential
stuffing attacks, and GARRISON’s belief that law enforcement would not catch or prosecute him
for his credential stuffing attacks:

         Date               From                                  Message
                                                            13
 9/14/2022               GARRISON            i quit simming
 9/14/2022               GARRISON            im back to cracking14
 9/14/2022               GARRISON            im getting sites no1 has had for like ever and shit
 9/14/2022               GARRISON            i have every captcha bypassed
                                                []
 9/16/2022               GARRISON            fraud is fun
 9/16/2022               GARRISON            im addicted to see money in my account
 9/16/2022               CC-3                idk it ruined my life personally
                                                []
 9/16/2022               GARRISON            idk im like obsessed with bypassing shit
                                                []
 9/16/2022               GARRISON            im thinking of starting a shop myself
 9/16/2022               CC-3                i wouldn’t lol
 9/16/2022               CC-3                u already under enough heat
 9/16/2022               CC-3                And already made 6 figures in an afternoon
                                                []
 9/16/2022               GARRISON            i couldbe in every big shops tele
 9/16/2022               GARRISON            [CC-3] at some point u gotta realize
 9/16/2022               GARRISON            no1 cares ab
 9/16/2022               GARRISON            acc shops


13
  Based on my training and experience and involvement in the investigation, I understand
“simming,” or “sim swapping,” to refer to a scam in which a victim’s phone number is ported
over to a cellphone SIM card controlled by the criminal, thus allowing the criminal to circumvent
two-factor authentication protocols by intercepting verification calls and text messages.
14
   Based on my training and experience and involve in the investigation, I understand “cracking”
to refer to credential stuffing.

                                               14
 9/16/2022                 GARRISON         theyd care if I sold cp15 on it

               31.   On the Garrison Phone, law enforcement located the following chats with a
coconspirator (“CC-4”) about additional hacking by JOSEPH GARRISON, the defendant:

         Date                 From                                 Message
 10/26/2022                GARRISON         I haven’t been focusing on
 10/26/2022                GARRISON         accs
 10/26/2022                GARRISON         I do a lot of other types of fraud

                            The June 2022 Interview of GARRISON

               32.     I have reviewed a written report by the Madison, Wisconsin Police
Department about a non-custodial interview of JOSEPH GARRISON, the defendant, on or about
June 14, 2022 (approximately five months before the Betting Website Attack). Law enforcement
began the interview of GARRISON at the Wisconsin Address and then continued it at a police
station. During the interview, GARRISON, stated the following, in substance and in part:

                      a.     GARRISON previously ran a website called “Goat Shop” on which
individuals sold hacked accounts.

                      b.      GARRISON himself hacked accounts and then sold them on Goat
Shop.

                     c.     GARRISON described the way that he hacked accounts, namely that
he had taken username and passwords from data breaches, put them into a program called “Open
Bullet,” and then used Open Bullet to attempt to access other websites using those lists of
usernames and passwords. GARRISON used the term “credential stuffing” to describe these
previous hacks.

                    d.     GARRISON hacked accounts and then sold access to the hacked
accounts on Goat Shop from approximately 2018 through approximately 2021, he made
approximately $15,000 per day from the website at its peak, and he had made approximately
$800,000 in total.

                       e.     GARRISON had stopped the hacking activity in or about the end of
2021. As set forth in this Complaint, this statement was false.

              33.    On the Garrison Phone, law enforcement located an undated picture
showing that Goat Shop had sold 225,247 products for total sales revenue of $2,135,150.09.




15
  Based on my training and experience and involve in the investigation, I understand “cp” to be
an abbreviation for child pornography.

                                              15
      WHEREFORE, the deponent respectfully requests that a warrant be issued for the arrest of
JOSEPH GARRISON, the defendant, and that he be arrested and imprisoned, or bailed, as the case
may be.


                                             /s/ Michael Gassert, by the Court, with permission
                                            __________________________________
                                            MICHAEL GASSERT
                                            Special Agent
                                            Federal Bureau of Investigation




Sworn to me through the transmission
of this Complaint by reliable electronic
means, pursuant to Federal Rules of
Criminal Procedure 41(d)(3) and 4.1, this
15th day of May, 2023



__________________________________
THE HONORABLE JAMES L. COTT
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF NEW YORK




                                               16
